                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                               December 21, 2016
                              No. 10-16-00029-CR
                               JOSE MANUEL PEREZ
                                      v.
                              THE STATE OF TEXAS
                                       
                                center-4254500
                        From the 77[th] District Court
                            Limestone County, Texas
                            Trial Court No. 13542-A
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's Judgment of Conviction (Count Four) signed on January 19, 2016 is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
						PER CURIAM
						SHARRI ROESSLER, CLERK294576517462500
				
By: ___________________________
1101090736917500				Nita Whitener, Deputy Clerk

